                   Case 5:25-cr-00163-EJD
DOCUMENTS UNDER SEAL
                                                   Document 13          Filed 06/24/25 Page51minutes
                                                                          TOTAL TIME (m ins):
                                                                                              of 1
M AGISTRATE JUDGE                        DEPUTY CLERK                                REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Antionique Avist                         Liberty: 1:07pm - 1:12pm
MAGISTRATE JUDGE                         DATE                                        NEW CASE      CASE NUMBER
Susan van Keulen                        06/24/2025                                                 5:25-cr-00163-EJD-1
                                                    APPEARANCES
DEFENDANT                                AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
Francisco De-Jesus Morales                        Y         P       Sophia Whiting                       APPT.
U.S. ATTORNEY                            INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Taylor Lord                             Lupita Arce - Spanish                   SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR            PARTIAL PAYMENT
                             Shafia Khanoon                         APPT'D COUNSEL              OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                            TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT               BOND HEARING          IA REV PROB. or            OTHER
                                                                                 or S/R
       DETENTION HRG             ID / REMOV HRG            CHANGE PLEA           PROB. REVOC.               ATTY APPT
                                                                                                            HEARING
                                                   INITIAL APPEARANCE
        ADVISED                 ADVISED                NAME AS CHARGED                TRUE NAME:
        OF RIGHTS               OF CHARGES             IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R            APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                       DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED          RELEASED       DETENTION HEARING             REMANDED
      FOR             SERVICES                                                 AND FORMAL FINDINGS           TO CUSTODY
      DETENTION       REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                         FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                    STATUS RE:
08/11/2025                       HEARING                 HEARING                 CONSENT                 TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY           CHANGE OF              STATUS
                                 AFFIDAVIT                 HEARING               PLEA
1:30pm                                                     _____________
BEFORE HON.                      DETENTION                 ARRAIGNMENT           MOTIONS                 JUDGMENT &
                                 HEARING                                                                 SENTENCING
Edward J. Davila
       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /            PRETRIAL                PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL               CONFERENCE              HEARING
                                 3161                      HEARING
                                               ADDITIONAL PROCEEDINGS




                                                                                        DOCUMENT NUMBER:
